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                              IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF COLUMBIA


 United States of America, et al.,

                                Plaintiffs,          Case No. 1:20-cv-03010-APM

 v.                                                  HON. AMIT P. MEHTA
 Google LLC,

                                Defendant.


 State of Colorado, et al.,

                                Plaintiffs,          Case No. 1:20-cv-03715-APM

 v.                                                  HON. AMIT P. MEHTA
 Google LLC,

                                Defendant.


             JOINT STATUS REPORT REGARDING DISCOVERY DISPUTE

       Pursuant to the Court’s March 20 Minute Order, the Parties submit the following Joint

Status Report.

I.     Joint Status Update

       The Parties request the Court’s assistance to resolve a dispute arising from Plaintiffs’

Third Joint Requests for Production, Request No. 8. The Parties have reached an impasse

regarding Google’s obligations following the Court’s direction at the March 10, 2025, status

conference regarding this Request. The Parties set forth their positions below.
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II.    Plaintiffs’ Position Statement Regarding Plaintiffs’ Third RFP, Request No. 8

       A.      The Court Ordered Google To Produce a Final Set of Data Cards

       Notwithstanding the Court’s clear instruction at the last status conference that Google

produce a final set of data cards, Google has refused to do so. Ten days ago, this Court heard

argument and addressed a dispute between the parties regarding Plaintiffs’ Third Joint Requests

for Production, Request No. 8 (“RFP 3:8”). At a high level, RFP 3:8 sought specific information

regarding what user-side data Google deploys to train its GenAI models and search-related

applications. The parties fully briefed the dispute, and the Court gave the parties a full

opportunity to be heard. See Joint Status Report, ECF No. 1183, §§ II–III.

       During the March 10 hearing, Google asserted that its prior production of data cards was

sufficient to satisfy Plaintiffs’ RFP No. 3:8. Plaintiffs countered that because these data cards

were a non-final set, a response to RFP 3:8 could not be satisfied by Google’s prior production of

data cards. Having heard both Parties on this issue, the Court noted that with respect to the data

cards there were a “couple of things that are being requested . . . either confirmation or the

production of the actual final data cards.” Hearing Tr., March 10, 2025, 18:18–19:3. Google’s

counsel acknowledged the request and represented that Google would “undertake to confirm

whether those are . . . the final data cards or pull them for the same models that we had

previously pulled them for. So that -- I think that’s a way to resolve that.” Id. at 19:4–13

(emphasis added).

       The Court’s clear instruction at the hearing required Google to confirm that it had

produced the final data cards or, if those cards had not been produced, to produce them.

       B.      Google Has Failed to Comply With The Court’s Order

       Despite the Court’s directive and Google’s representations at the hearing, Google has

refused to comply with the Court’s instruction to confirm or produce a final set of data cards.

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Instead, Google now argues that: (1) its identification of final “documents”—not actual data

cards—in its prior productions is sufficient; (2) Plaintiffs’ request that Google produce additional

final data cards constitutes a “new” discovery request that falls outside the discovery period; and

(3) Google’s compliance with the Court’s order is limited by Google’s prior scope objections to

RFP 3:8. As demonstrated below, Google’s arguments fail.

        Google attempts to obfuscate the Parties’ discussion at the status conference—as well as

the Court’s ultimate direction that Google produce the final set of “data cards”—by arguing that

Google has complied with the Court’s order. In particular, the company claims that it complied

with the Court’s order on March 13, 2025, when Google’s counsel in a letter to Plaintiffs

explained that it had previously produced “model or data cards” in response to other discovery

requests issued by the Plaintiffs. Ex. A, Ltr. from C. Yeager to D. Aguilar (Mar. 13, 2025), at 1.

Further, Google pointed Plaintiffs to 65 “documents” in its prior production that Google now

asserted were “final.” Id. Google’s response is insufficient.

        First, based on discovery to date, Plaintiffs do not agree that the majority of “documents”

identified by counsel as “final” constitute actual “data cards.” Evidence from discovery

established that Google in the ordinary course uses a specific “data card” template to specify the

data to be used to train its GenAI models. The template Plaintiffs refer to appears at Ex. B,

GOOG-DOJ-34494042.1 Only four of the documents identified by Google as “final” fit this



1
 This understanding of what constitutes a data card is consistent with the testimony of Phiroze
Parakh, Senior Director of the Google Search trust team and former quality lead for AI
Overviews, who testified during his deposition that “[a] data card is basically a sheet like this,
and it lists the data source, the providence of the source, where it resides in our servers, if at all,
comments associated with it. And it seems like there are a bunch of -- there are a host of policy
questions that are -- that the engineers have to fill in when they want to include that data. And
then it goes for approval if -- if it can be used.” Ex. C, Excerpt from Parakh Dep. 140:22–141:5
(Feb. 13, 2025).

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description.2 During a March 15 meet and confer, Plaintiffs raised this issue with Google and

further requested that Google explain how these specific types of data cards were kept in the

ordinary course. Google has not provided any additional information to the Plaintiffs on this

issue.

         Second, Google claims that its identification of 65 documents is sufficient to satisfy the

Court order because the production of a final set of data cards is beyond the scope of what the

Court could order.3 In support of its arguments, Google posits that because Plaintiffs’ original

request sought the production of different documents than what the Court ordered be produced

here, the Court’s order is somehow out of scope. This argument is misplaced. RFP 3:8 sought

documents with detailed information regarding the data Google uses to train the relevant GenAI

products including documents “sufficient to show all the available fields for the data used.”4



2
 Of the 65 identified documents, 56 are opaque Excel sheets. Compare Ex. D, GOOG-DOJ-
34920497 (sample Excel) to Ex. E, GOOG-DOJ-34924465 (sample data card).
3
  For example, Google has been unwilling to confirm that it produced data cards for the GenAI
models that power Google’s current chatbot, the Gemini App. Google’s apparent exclusion of
the Gemini App has no basis. As Google’s VP of Search,Elizabeth Reid confirmed during her
deposition that the Gemini App is the evolution of Bard and serves as a chatbot. Ex. F, Excerpts
from Reid Dep. 14:7–12, 15:13–15 (Mar. 7, 2025) (“Q. . . So the Bard product that was launched
in 2023 has evolved into what is today the Gemini app? A. Yes. Q. You described Bard as a
form of a chatbot; is that correct? A. Yes. . . . Q. Would you describe the Gemini app today as a
chatbot? A. Largely still is a chatbot, yes.”).
4
  Plaintiffs’ Third Joint Requests for Production, ECF. No. 1183-1, at 4–5 (“Produce technical
documentation sufficient to show which User-Side Data is used, any considerations of privacy or
privacy-protection mechanisms for this use, and how often this data is refreshed, to (a) train and
(b) fine tune:

    a. Google’s AI models to generate summaries for Google’s AI Overview;

    b. Google’s retrieval models that are used to retrieve data when generating summaries for
       Google’s AI Overview;



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Instead of providing this information, Google asserted that the data cards contained sufficient

information to respond to RFP 3:8. Even though the data cards do not contain the level of detail

sought in RFP 3:8, in the spirit of compromise, Plaintiffs expressed a willingness to accept the

data cards as a way to resolve the discovery dispute related to RFP 3:8 so long as Google

produced a final set of data cards.5 Because Google has failed to produce final data cards,

Plaintiffs were forced to re-raise this issue for the Court.

       Third, Google asserts that Plaintiffs “did not take issue” with Google’s initial response to

RFP 3:8—where Google asserted it would not produce additional documents—during discovery

negotiations. This is inaccurate and irrelevant. Plaintiffs clearly communicated that Google’s

response in its R&Os was unacceptable. Not only did Plaintiffs propose a compromise offer after

an initial meet and confer regarding Google’s R&Os, see Ex. G, Email from K. Herrmann to N.

Peelish (Feb. 24, 2025), but when Google declined that offer, Plaintiffs also raised the issue in

the March 7, 2025, Joint Status Report, ECF No. 1183. During the conference, Plaintiffs again

explained to the Court why Google’s initial response—that it could simply rely on the prior

productions of data cards—was deficient. This Court’s order and instruction prevails over any

pro forma objection or position claimed to have been preserved by Google.




    c. Google’s AI models to generate responses to queries submitted via Google’s Circle to
       Search functionality; and

    d. Google’s AI models to operate as the Gemini chatbot.

For the avoidance of doubt the information produced in response to 8(a)-(d) shall include
documents sufficient to show all the available fields for the data used for such purpose,
along with a corresponding data dictionary.”
5
 The fact the Parties reached a Court-assisted compromise on what need to be produced to
satisfy Plaintiffs’ RFP 3:8, should not be grounds for Google to argue that the compromise
constitutes an entirely new request for the production of documents outside the discovery period.

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         C.     Google’s Non-Compliance Has Prejudiced Plaintiffs

         As the Court is aware, expert rebuttal reports are due March 26, 2025, and expert

depositions must be conducted by April 9. With those deadlines fast approaching, Google’s

failure to make timely collections and productions in response to the Court’s order has

prejudiced Plaintiffs.

         On March 14, 2025, the Parties exchanged initial expert reports. In an effort to undermine

Plaintiffs’ data access remedies, Google’s experts rely on representations from interviews with

Google employees (at which Plaintiffs were not present) regarding what datasets Google uses to

train its AI models used in search. Plaintiffs have made great efforts, as Google pointed out at the

hearing,6 to uncover precisely this information, issuing multiple discovery requests and seeking

this information from multiple deponents7 to no avail. These data cards and hyperlinks represent

a simple, direct way to discover information that Google has put at issue in its attack of data

access remedies, yet Google continues to hide the ball.

         In a highly-accelerated expert discovery period, Google’s defiance of the Court’s order

has prejudiced Plaintiffs’ ability to prepare expert reports in response to Google’s claims. Google

has no acceptable basis for non-compliance with an unambiguous Court order and, as its actions

have prejudiced Plaintiffs, threatens the Court’s schedule.

         For these reasons, Plaintiffs respectfully request the following relief from the Court:

         1) Google shall produce within two days the complete set of final data cards for the
            current GenAI models that power AI Overviews, AI Mode, and Gemini chatbot
            (which, for the avoidance of doubt, includes the Gemini App). Plaintiffs will send


6
    Hearing Tr. 13:9–14:17.
7
 See, e.g., Ex. F, Excerpts from Reid Dep. 212:6–213:3 (Mar. 7, 2025) (“I don’t know if we
built a foundational model exclusively for Search that we then customized on top or we built a
generic foundational model that we then customized on top.”)

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           requested hyperlinks the next day, and Google will produce those hyperlinked pages
           within two business days;

        2) Plaintiffs are granted up to one week after production of the hyperlinked pages to
           supplement their AI expert’s opening report which was already served on March 14;

        3) Plaintiffs may delay the exchange of their AI expert’s rebuttal report (currently due
           March 26) to either March 31 or three days after the supplemental report is due,
           whichever is later; and

        4) Google must depose Plaintiffs’ AI expert on April 9 to provide Plaintiffs with
           sufficient time to prepare their expert while not jeopardizing the case schedule.



III.    Google’s Position Statement Regarding Plaintiffs’ Third RFP, Request No. 8

        At the March 10 Status Conference, the Court heard a dispute regarding Google’s

compliance with Requests No. 7 and 8 from Plaintiffs’ Third Joint Set of Requests for

Production. See ECF No. 1183, at 5-8. Following that Status Conference, the parties further

conferred regarding both requests. As to Request No. 7, the parties have no pending dispute.

The present dispute pertains to Request No. 8.

        Request No. 8 reads as follows:

               Produce technical documentation sufficient to show which User-Side Data is
               used, any considerations of privacy or privacy-protection mechanisms for this use,
               and how often this data is refreshed, to (a) train and (b) fine tune:

                       a. Google’s AI models to generate summaries for Google’s AI Overview;

                       b. Google’s retrieval models that are used to retrieve data when generating
                       summaries for Google’s AI Overview;

                       c. Google’s AI models to generate responses to queries submitted via
                       Google’s Circle to Search functionality; and

                       d. Google’s AI models to operate as the Gemini chatbot.

               For the avoidance of doubt the information produced in response to 8(a)-(c) shall
               include documents sufficient to show all the available fields for the data used for
               such purpose, along with a corresponding data dictionary.


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ECF No. 1183-1, at 4-5 (emphasis added). Google has complied with its obligations under

Request No. 8. Plaintiffs have made clear that the dispute they now bring to the Court is for

something “different” than what was sought in Request No. 8. Ex. K., at 1.

       In Google’s original response to Request No. 8, Google pointed Plaintiffs to the

production of more than five-dozen model or data cards8 that were produced by Google in

response to an earlier request for “documents sufficient to show if and what search log or user-

side data Google uses to train or fine-tune its foundation models for [applications including AI

Overviews, the Gemini Chatbot, and AI Mode], how the search log or user-side data improves or

benefits a specific application, and the size, fields, and types of data used in the search log or

user-side data sets.” Ex. K, at 2.

       At the last status conference, Plaintiffs challenged the sufficiency of Google’s response to

Request No. 8 in two respects. First, Plaintiffs expressed concern that some of the datacards

produced may have been drafts and not “in final form.” See Hr’g Tr. 17 (Mar. 10, 2025).

Second, Plaintiffs complained that the cards “include[] a number of hyperlinks” pointing to files

that Google had not produced. Id. at 18. In response, Google offered (1) to “confirm either [the

produced cards] are the final data cards or pull them for the same models that [Google] had

previously pulled them for” and (2) to collect any requested linked documents, provided that any

such requests were manageable. See id. at 19, 22.9




8
  Throughout these proceedings, the terms “model cards” and “data cards” have been used
interchangeably.
9
  Plaintiffs waited a week before requesting any linked documents. As soon as Google received
Plaintiffs’ request on Monday, March 17, Google undertook to collect and produce the linked
documents to the extent that it is technologically feasible to do so without undue burden. Google
does not understand there to be a dispute with respect to this issue.
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       Following the hearing, Google confirmed that the datacards produced were, in fact, final.

To that end, on March 13, Google sent Plaintiffs a letter identifying by Bates number each

datacard produced in response to Request No. 8, along with a representation that the datacard

was final. See Ex. H, at 1, 3-4. Recognizing that Plaintiffs had stated that some datacards were

“not in final form,” Hr’g Tr. 17 (Mar. 10, 2025), Google made clear that, beyond the documents

that had been produced to satisfy the specific request above, certain other documents that take

the form of model or data cards had been swept up in the production pursuant to search strings.

Ex. H, at 1. As to those documents-- which Google had not produced in satisfaction of Request

No. 8-- Google could not make a representation as to the documents’ finality. Id.

       That evening, Plaintiffs sent Google an additional letter, protesting that Google had not

“pull[ed] additional datacards.” Ex. I, at 1. Doing so was necessary, Plaintiffs said, because

Google had not produced a final datacard for the Gemini V3 model, even though “Ms.

[Elizabeth] Reid testified that AI Overviews is, in part, using the V3 base model.” Id. at 2.

Google produced a final copy of the V3 datacard the very next day.10

       On Friday evening, Plaintiffs sent Google another letter, this time taking the position that

the Court had “expressly indicat[ed] that Google would need to ‘pull’ additional documents.”

Ex. J, at 1. At Plaintiffs’ request, Google agreed to meet and confer the morning of Saturday,

March 15. During that call, Google asked Plaintiffs what, exactly, Google had supposedly failed




10
   Google’s collection and production of documents largely predated the release of Gemini V3.
Google produced its model and data cards on January 23 and February 10. Google did not
broadly release Gemini 2.0 (i.e., Gemini V3) on a non-experimental basis until February 5, 2025,
and the incorporation of that model into AI Overviews was announced in March 2025. See
Koray Kavukcuoglu, Gemini 2.0 is Now Available to Everyone, The Keyword (Feb. 5, 2025),
https://blog.google/technology/google-deepmind/gemini-model-updates-february-2025/; Robby
Stein, Expanding AI Overviews and introducing AI Mode, The Keyword (Mar. 5, 2025),
https://blog.google/products/search/ai-mode-search/.
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to produce. Plaintiffs responded that Google must produce (or confirm that it has produced) “a

comprehensive and final model and data card set for all of the models that underlie the three

products” discussed, i.e., AI Overviews, AI Mode, and the Gemini chatbot, Ex. K, at 1; that is to

say, model cards for these products apparently regardless of whether they involved user-side

data as specified in Request No. 8. Plaintiffs acknowledged that the additional documents they

sought were “different” from what Request No. 8 sought, id., but argued that the Court ordered

Google to produce the material.

       Google respectfully requests that the Court deny Plaintiffs’ request for discovery that is

not encompassed by Request No. 8. First, fact discovery closed on February 28. See ECF No.

1043, § I.M. Plaintiffs never served a request for– and Google certainly never agreed to

produce– “a comprehensive and final model and data card set for all of the models that underlie”

AI Overviews, AI Mode, and the Gemini chatbot. Second, even had Plaintiffs done so, Google

would have objected, including on the basis of relevance. Plaintiffs’ Revised Proposed Final

Judgment would obligate Google to “make available . . . [t]he User-side Data used as training

data for GenAI Models used in Search or any GenAI Product that can be used to access Search.”

ECF No. 1184-1, § VI.C.3 (emphasis added). In that respect, Google’s past production of

datacards– which, again, pertain to those models in AI Overviews, AI Mode, and the Gemini

chatbot that rely on user-side data– is more than sufficient.

       Nor is there any good reason to subject Google to the burden of searching for those

datacards that pertain to models not reliant on user-side data. Because it was not until this past

Saturday that Plaintiffs made that request, Google has had no occasion to search for such

datacards until now. Accordingly, accommodating Plaintiffs’ belated request would entail

Google investigating how many responsive datacards exist, collecting them, reviewing them, and



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producing them. That is potentially no small matter. Based on Google’s earlier efforts to collect

the datacards that it has already produced, Google has come to understand that no single

document repository exists that contains all the datacards for these products. Google instead had

to set up multiple workstreams involving working with multiple different engineers to collect the

relevant datacards. Google has every expectation that any further collection of datacards will

prove at least as burdensome. To force Google to conduct a search for still more datacards with

no apparent relevance to this case is a burden hardly proportional to the needs of the case.

       Moreover, if the Court were to obligate Google to search for and produce additional

datacards, it would almost certainly jeopardize the case schedule. Fact discovery closed nearly a

month ago. The parties have already served their opening expert reports. See ECF No. 1043,

§ I.P. Rebuttal expert reports are due this coming Wednesday. Id. § I.Q. It is simply much too

late to reopen document discovery.

       In short, Plaintiffs’ present request belatedly seeks irrelevant discovery that Plaintiffs

never sought in fact discovery. If Plaintiffs felt that they needed additional datacards, they

should have raised the issue long ago. Plaintiffs did not, and they cannot now demand that

Google search for and produce such documents. See Musonza v. Costanzo, 2022 WL 3646296,

at *5 (D.D.C. Aug. 24, 2022) (holding that it was “clearly erroneous” for a magistrate judge to

compel the production of files that the plaintiff did not request and that the defendant objected to

producing).




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Dated: March 20, 2025                 Respectfully submitted,

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